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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      District District
                                                  __________   of Massachusetts
                                                                        of __________


                         O. Doe et al.                             )
                             Plaintiff                             )
                                v.                                 )      Case No. 1:25-cv-10135
                    Donald J. Trump et al.                         )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         the State of Tennessee                                                                                               .


Date:          02/03/2025                                                                 /s/ Andrew C. Coulam
                                                                                            Attorney’s signature


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